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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


  FRIENDS OF GEORGE’S, INC.,                      )
                                                  )
         Plaintiff,                               )
                                                  )        No. 2:23-cv-02163-TLP-tmp
  v.                                              )
                                                  )
  STEVEN J. MULROY, in his official and           )
  individual capacity as District Attorney        )
  General of Shelby County, TN,                   )
                                                  )
         Defendant.                               )


                                          JUDGMENT


 JUDGMENT BY THE COURT. This action came before the Court on Plaintiff’s Complaint,

 filed on March 27, 2023. (ECF No. 1.) In accordance with the Findings of Fact and

 Conclusions of Law (ECF No. 91), the Court enters this judgment in favor of Plaintiff, declaring

 the Adult Entertainment Act (2023 Tenn. Pub. Acts, ch. 2 (codified at Tenn. Code. Ann. §§ 7-

 51-1401, and -1407)) UNCONSTITUTIONAL and PERMANENTLY ENJOINS Defendant

 District Attorney General Steven J. Mulroy from enforcing the Act within his jurisdiction in

 SHELBY COUNTY, TENNESSEE.

 s/Thomas L. Parker
 THOMAS L. PARKER
 UNITED STATES DISTRICT JUDGE

 June 7, 2023
 Date




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